    Case 1:14-cr-00157-CG-C             Doc# 129        Filed 11/17/15        Page 1 of 7      PageID# 496

AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations                           (455090)

                  UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF ALABAMA
        UNITED STATES OF AMERICA                          JUDGMENT IN A CRIMINAL CASE
                  V.                                      (For Revocation of Probation or Supervised Release)

        KIRSTYN B. SNEAD                                  CASE NUMBER: 1:14-CR-00157-002
                                                          USM NUMBER: 13973-003

THE DEFENDANT:                                            Latisha V. Colvin, Esquire
                                                          Defendant's Attorney

X      admitted guilt to violation of supervision conditions: 2, 6 & special as set forth in the petition
dated 10/22/2015.
       was found in violation of supervision condition:
                                                                        Date violation
Violation Number                    Nature of Violation                  Occurred
2                                   Technical
6                                   Technical
                                    Technical
Special

       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

       The defendant has not violated condition(s)                 and is discharged as to such violation(s)
condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.




Defendant's Social Security No. 5992                       November 10, 2015
                                                           Date of Imposition of Judgment
Defendant's Date of Birth: 1988
                                                           /s/ Callie V. S. Granade
Defendant's Residence Address:                             UNITED STATES DISTRICT JUDGE
Gulf Breeze, FL
__________________________
                                                           November 17, 2015
Defendant's Mailing Address:
                                                           Date
___________________________
___________________________
    Case 1:14-cr-00157-CG-C             Doc# 129        Filed 11/17/15        Page 2 of 7     PageID# 497
                                                                                                    Judgment 2
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 2 - Imprisonment

Defendant: KIRSTYN B. SNEAD
Case Number: 1:14-CR-00157-002

                                           IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of THREE (3) MONTHS.



        The court makes the following recommendations to the Bureau of Prisons:




X       The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
               at .m. on        .
               as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau
        of Prisons:
                before 2 p.m. on      .
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.

                                                     RETURN
I have executed this judgment as follows:

__________________________________________________________________________________

__________________________________________________________________________________

__________________________________________________________________________________

Defendant delivered on                          to                                     at __________________

with a certified copy of this judgment.
                                                                          UNITED STATES MARSHAL


                                                                      By _________________________________
                                                                             Deputy U.S. Marshal
    Case 1:14-cr-00157-CG-C             Doc# 129        Filed 11/17/15        Page 3 of 7        PageID# 498
                                                                                                      Judgment 3

AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 3 - Supervised Release
Defendant: KIRSTYN B. SNEAD
Case Number: 1:14-CR-00157-002

                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 33 months.


Special Conditions: See attachment.


        For offenses committed on or after September 13, 1994: The defendant shall refrain
        from any unlawful use of a controlled substance. The defendant shall submit to one drug
        test within 15 days of release from imprisonment and at least two periodic drug tests
        thereafter, as directed by the probation officer.
                The above drug testing condition is suspended based on the court’s determination that the
                defendant poses a low risk of future substance abuse. (Check, if applicable)
        The defendant shall register with the state sex offender registration agency in the state where the
        defendant resides, works, or is a student, as directed by the probation officer. (Check, if
        applicable)
        The defendant shall participate in an approved program for domestic violence. (Check, if
        applicable)
X       The defendant shall not possess a firearm, destructive device, or any other dangerous
        weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution that remains unpaid at the commencement of the term
of supervised release in accordance with the Schedule of Payments set forth in the Criminal Monetary
Penalties sheet of this judgment. The defendant shall report to the probation office in the district to
which the defendant is released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court (Probation
Form 7A).
The defendant shall also comply with the additional conditions on the attached page (if applicable).

                                 See Page 4 for the
                      "STANDARD CONDITIONS OF SUPERVISION"
    Case 1:14-cr-00157-CG-C              Doc# 129        Filed 11/17/15        Page 4 of 7       PageID# 499
                                                                                                      Judgment 4



AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 3 - Supervised Release
Defendant: KIRSTYN B. SNEAD
Case Number: 1:14-CR-00157-002

                                      SUPERVISED RELEASE
                        STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation
        officer;
2) the defendant shall report to the probation officer in a manner and frequency directed by the court or
        probation officer;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
        of the prob. officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
        schooling, training, or other acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or
        employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
        distribute, or administer any controlled substance or any paraphernalia related to any controlled
        substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate
        with any person convicted of a felony unless granted permission to do so by the probation
        officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere
        and shall permit confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or
        questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law
        enforcement agency without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant's criminal record or personal history or characteristics, and shall
        permit the probation officer to make such notifications and to confirm the defendant's
        compliance with such notification requirement.
14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if
        applicable, under the provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants
        convicted of qualifying offenses.
    Case 1:14-cr-00157-CG-C              Doc# 129        Filed 11/17/15        Page 5 of 7        PageID# 500
                                                                                                         Judgment 5
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5, Part A - Criminal Monetary Penalties

Defendant: KIRSTYN B. SNEAD
Case Number: 1:14-CR-00157-002

                          CRIMINAL MONETARY PENALTIES
       The defendant shall pay the following total criminal monetary penalties in accordance with the schedule
of payments set forth on Sheet 5, Part B.

                              Assessment                     Fine                          Restitution
        Totals:               $                              $                             $2,004.00 (less any
                                                                                           payments
                                                                                           previously made)


        The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case
        (AO 245C) will be entered after such a determination.

X       The defendant shall make restitution (including community restitution) to the following payees in the
        amounts listed below.


If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless
specified otherwise in the priority order or percentage payment column below. (or see attached)
However, pursuant to 18 U.S.C. § 3644(i), all nonfederal victims must be paid in full prior to the United States
receiving payment.
Name and                                           Amount of
Address of Payee                                   Restitution Ordered
New Horizons Credit Union                          $1,150.00
Attn: Ms. Helen Sylvester
P.O. Box 1785
Mobile, AL 36633

BBVA Compass Bank                                  $ 854.00
4685 Airport Boulevard
Mobile, AL 36608

        TOTAL                                      $,2004.00 (less any payments previously made)

X       If applicable, restitution amount ordered pursuant to plea agreement. $2,004.00
        The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or
        restitution is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. §
        3612(f). All of the payment options on Sheet 5, Part B may be subject to penalties for default, pursuant to
        18 U.S.C. § 3612(g).

X       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
X       The interest requirement is waived for the      fine and/or X restitution.
        The interest requirement for the    fine and/or      restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title
18, United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
    Case 1:14-cr-00157-CG-C                Doc# 129        Filed 11/17/15         Page 6 of 7         PageID# 501

                                                                                                          Judgment 6
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5, Part B - Schedule of Payments
Defendant: KIRSTYN B. SNEAD
Case Number: 1:14-CR-00157-002
                                    SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be
due as follows:
A           Lump sum payment of $ 2,004.00 (less any payments previously made) in restitution is due
        immediately, with any balance due       not later than     , or X in accordance with C,        D,
            E or X F below; or
B          Payment to begin immediately (may be combined with C, D, E or F below); or
C         Payment in          (e.g., equal, weekly, monthly, quarterly) installments of $            over a
       period of        (e.g., months or years), to commence             (e.g., 30 or 60 days) after the date
       of this judgment; or
D          Payment in          (e.g., equal, weekly, monthly, quarterly) installments of $            over a
       period of        (e.g., months or years), to commence             (e.g., 30 or 60 days) after release
       from imprisonment to a term of supervision; or
E          Payment during the term of supervised release will commence within               (e.g., 30 or 60
       days) after release from imprisonment. The court will set the payment plan based on an
       assessment of the defendant's ability to ay at that time; or
F      X Special instructions regarding the payment of criminal monetary penalties: Payment to the
victims shall be on a pro rata basis. Restitution is due immediately and payable in full, and is to be paid
through the Clerk, U.S. District Court. As a special condition of supervised release, the Probation Office shall
pursue collection of any balance remaining at the time of release in installments to commence no later than 30
days after the date of release. If restitution is to be paid in installments, the court orders that the defendant make
at least minimum monthly payments in the amount of $100.00. No interest is to accrue on this debt. The
defendant is ordered to notify the court of any material change in his ability to pay restitution. The Probation
Office shall request the court to amend any payment schedule, if appropriate.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are to be made to the clerk of
court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties
imposed.

X       Restitution is to be paid jointly and severally with co-defendant Larry Bacallao, CR-14-157-001.
        The defendant shall pay the cost of prosecution.
        The defendant shall pay the following court cost(s):
        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4)
fine principal; (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution
and court costs.
    Case 1:14-cr-00157-CG-C             Doc# 129        Filed 11/17/15        Page 7 of 7   PageID# 502

                                                                                              Judgment 7
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 3 Continued - Supervised Release
Defendant: KIRSTYN B. SNEAD
Case Number: 1:14-CR-00157-002

                   SPECIAL CONDITIONS OF SUPERVISED RELEASE
1) The defendant shall submit to periodic urine surveillance and/or breath, saliva, and skin tests for the
detection of drug and/or alcohol abuse as directed by the Probation Office. Defendant may incur costs
associated with such detection efforts based upon ability to pay as determined by the Probation Office,
and availability of any third-party payments.

2) The defendant shall participate in an assessment or program, inpatient or outpatient, for the treatment
of drug and/or alcohol addiction, dependency, or abuse as instructed and as deemed necessary by the
Probation Office. Defendant may incur costs associated with such drug/alcohol detection and treatment
based upon ability to pay as determined by the Probation Office, and availability of any third-party
payments.

3) The defendant is prohibited from making major purchases, incurring new credit charges, or opening
additional lines of credit without the approval of the Probation Officer, until such time as the financial
obligations imposed by this court have been satisfied in full.

4) The defendant shall provide the Probation Office access to any requested financial information.

5) The defendant shall make restitution as set forth on Sheet 5, Parts A & B of this Judgment.
